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E-mail: Im_young@yahoo.com                                    WO OF WI
Pro se



                                  United States District Court
                                 Western District of Wisconsin



HUGUETTE NICOLE YOUNG,                                CASE NO. 20-cv-935

                                                      NOTICE OF APPEAL

V.

JOSH KAUL, in his official capacity
as attorney general of Wisconsin,

                         Defendant.




        Notice is hereby given that Huguette Nicole Young, plaintiff in the above named case,
hereby appeals to the United States Court of Appeals for the 7th Circuit from an order of dismissal
of the case based on denial of In Forma Pauperis status entered in this action on the 18th day of
December, 2020.


            01/06/2021
Dated:
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                                                                       guette Nicole Young
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Notice of Appeal
